                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA

IN RE:                                           §
                                                 §           CASE NO. 17-33383
                                                 §
JACQUELINE ESTY,                                 §
                                                 §
      DEBTOR.                                    §
                                                 §
JACQUELINE ESTY                                  §
                                                 §
      PLAINTIFF                                  §
                                                 §           ADVERSARY PROCEEDING
                                                 §           NUMBER 20-03003
VS.                                              §
                                                 §
                                                 §
NATIONSTAR MORTGAGE, LLC, d/b/a                  §
MR. COOPER, and ALBERTELLI                       §
LAW,                                             §
                                                 §
      DEFENDANTS                                 §

                        NOTICE OF APPEARANCE AND REQUEST
                       FOR SERVICE IN ADVERSARY PROCEEDING

         PLEASE TAKE NOTICE that the undersigned appears in the above-captioned Adversary

Proceeding as counsel for Nationstar Mortgage, LLC d/b/a Mr. Cooper, pursuant to Rules 2002,

9007 and 9001(b) of the Federal Rules of Bankruptcy Procedure and hereby requests that all

notices given or required to be given and all papers or pleadings served or required to be served in

this Adversary Proceeding be delivered and served upon Nationstar Mortgage, LLC. d/b/a Mr.

Cooper, at the address of its counsel as set forth below:


                               Jackson E. Duncan, III, Esq.
                               McCALLA RAYMER LEIBERT PIERCE, LLC
                               2 North 20th Street, Suite 1000
                               Birmingham, Alabama 35203
                               Telephone - (205) 208-1804
                               E-Mail – Jackson.Duncan@mccalla.com




  Case 20-03003       Doc 10     Filed 02/26/20 Entered 02/26/20 15:59:25            Desc Main
                                   Document     Page 1 of 2
       PLEASE TAKE NOTICE the foregoing request includes all notices, papers and pleadings

referred to in the above-mentioned Federal Rules of Bankruptcy Procedure together with all orders

and notices of applications, motions, petitions, pleadings, complaints or other documents which,

in any way, affect the above-captioned Debtor.

       PLEASE TAKE FURTHER NOTICE that Nationstar Mortgage, LLC d/b/a Mr. Cooper,

does not intend for this notice or appearance or any later appearance, pleading, claim or suit to

constitute a wavier of (1) the right of Nationstar Mortgage, LLC d/b/a Mr. Cooper to have final

orders in non-core matters entered only after de novo review by the United States District Court,

(2) the right of Nationstar Mortgage, LLC d/b/a Mr. Cooper to a trial by jury in any proceeding so

triable in this case or in any case, controversy or proceeding related to this case, (3) the right of

Nationstar Mortgage, LLC d/b/a Mr. Cooper to have the United States Bankruptcy Court withdraw

the reference in any matter subject to mandatory or discretionary withdrawal, or (4) any other right,

claim, action, defense, set off or recoupment to which Nationstar Mortgage, LLC d/b/a Mr. Cooper

is or may be entitled.

                                                       /s/ Jackson E. Duncan, III
                                                      Jackson E. Duncan, III
                                                      Attorney for Nationstar Mortgage, LLC d/b/a
                                                      Mr. Cooper

                                  CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Appearance has been served upon the
following by first class United States mail, properly addressed with postage prepaid, on this date,
February 26, 2020:

       PAUL D. ESCO
       ATTORNEY AT LAW, LLC
       2800 Zelda Road; Suite 200-7
       Montgomery, Alabama 36106

                                             /s/ Jackson E. Duncan, III
                                      Of Counsel for Nationstar Mortgage, LLC d/b/a Mr. Cooper




  Case 20-03003          Doc 10   Filed 02/26/20 Entered 02/26/20 15:59:25            Desc Main
                                    Document     Page 2 of 2
